     Case 4:15-cv-03495 Document 301 Filed on 12/04/19 in TXSD Page 1 of 1
                                                                                            United States District Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
                                                                                             December 04, 2019
                        IN THE UNITED STATES DISTRICT COURT                                   David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ESTATE OF JORDAN BAKER, by and                  §
Through administrator JANET BAKER,              §
JANET BAKER, individually, and J.B.,            §
a mmor,                                         §
      Plaintiffs,                               §
                                                §
v.                                              §           Civil Cause No. 4: 15-cv-3495
                                                §
JUVENTINO CASTRO, THE CITY OF                   §
HOUSTON, et al.,                                §
     Defendants.                                §

                       ORDER ON MOTION FOR ENTRY OF JUDGMENT

       On this the __ day of ___ _ _, 2019, the Court considered Plaintiffs, ESTATE

OF JORDAN BAKER, by and through administrator JANET BAKER, JANET BAKER,

individually and as next friend of J.B, and J.B., a minor, and Defendants CITY OF HOUSTON

and JUVENTINO CASTRO'S Agreed Motion for Entry of Judgment. After reviewing said

motion, and after considering the Court's file, the Court finds that said motion has merit and should

be GRANTED.

       IT IS THEREFORE, ORDERED, ADJUDGED and DECREED that the parties Agreed

Motion for Entry of Judgment should be GRANTED in its entirety and that the proposed agreed

judgment attached as Exhibit "A" to said motion be entered by the Clerk.

       SIGNED this the    If-IA   day of   /)tt;e,,.,.,ot          , 2019.



                                                            Sim L e
                                                            U.S. District Judge
